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4
5    Attorney for Defendant
     MAGGIE LUONG
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )      No. CR-S 08-543 GEB
12                                   )
                    Plaintiff,       )
13                                   )      (Amended)STIPULATION AND ORDER
          v.                         )      VACATING DATE, CONTINUING CASE,
14                                   )      AND EXCLUDING TIME (Amended)
     MAGGIE LUONG,                   )
15                  Defendant.       )
                                     )      Date   August 13, 2010
16   _______________________________ )      Time: 9:00 a.m.
                                     )      Judge: BURRELL
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18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Michael Beckwith, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant Maggie Luong, that the status conference
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     scheduled for July 9,2010, be vacated and the matter be continued to
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     this Court's criminal calendar on August 13, 2010, at 9:00 a.m. for
23
     further status.
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          This continuance is requested by the defense in order to continue
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     in negotiations with the prosecution in an attempt to finalize a plea
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     agreement and prepare for Ms. Luong’s defense should the case proceed
27
     to trial.
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1          IT IS FURTHER STIPULATED that time for trial under the Speedy
2    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
3    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
4    ends of justice served in granting the continuance and allowing the
5    defendant further time to prepare outweigh the best interests of the
6    public and the defendant in a speedy trial.
7          The Court is advised that all counsel have conferred about this
8    request, that they have agreed to the August 13, 2010, date, and that
9    Mr. Beckwith has authorized Ms. Santos to sign this stipulation on his
10   behalf.
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12
13         IT IS SO STIPULATED.
14
15   Dated: July 8, 2010                        /S/ Dina L. Santos
                                               DINA L. SANTOS
16                                             Attorney for
                                               Maggie Luong
17
18   Dated: July 8, 2010                        /S/ Michael Beckwith
                                               MICHAEL BECKWITH
19                                             Assistant United States Attorney
                                               Attorney for Plaintiff
20
21
22
                                           O R D E R
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           IT IS SO ORDERED.
24
25   Dated:     July 9, 2010

26
27                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
28


     Stipulation and Order                      2
